                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF NEW YORK

                          HONORABLE DAVID N. HURD

                  UNIFORM PRETRIAL SCHEDULING ORDER


 LAMONT LEE and
 TYMEL KORNEGAY
                                        Civil No. 1:19-CV-473 (DNH/DJS)
 vs.


 THE CITY OF TROY, ET AL.


      Counsel for all parties having reported on the status of this action as directed
by the Court, and the Court having considered the positions of the respective
counsel regarding a schedule for the progression of the case,

       IT IS ORDERED that:

(1)    THE DEADLINES SET IN THIS SCHEDULING ORDER SUPERSEDE THE
       DEADLINES SET FORTH IN FED. R. CIV. P.26(a)(3) AND ARE FIRM AND
       WILL NOT BE EXTENDED, EVEN BY STIPULATION OF THE PARTIES,
       ABSENT GOOD CAUSE. See Fed. R. Civ. P. 16(b).

(2)    VENUE MOTIONS are to be filed within sixty (60) days of the date of this
       Order following the procedures set forth in Local Rule 7.1 (b)(2) and are to be
       made returnable before the assigned Magistrate Judge.

(3)    JURISDICTION MOTIONS are to be filed within sixty (60) days of the date
       of this Order following the procedures set forth in Local Rule 7.1 (b)(1)
       (unless a party who is not an attorney is appearing pro se, in which case L.R.
       7.1 (b)(2) should be followed) and are to be made returnable before Judge
       Hurd.

(4)    JOINDER OF PARTIES: Any application to join any person as a party to this
       action shall be made on or before July 31, 2019.

(5)    AMENDMENT OF PLEADINGS: Any application to amend any pleading in
       this action shall be made on or before July 31, 2019.



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(6)   DISCOVERY:

      All discovery in this matter is to be completed on or before June 5, 2020.
      Service of discovery requests must be made a sufficient number of days
      before this deadline to allow responses to be served before the cut-off. Please
      refer to Local Rule 16.2 (Discovery Cut-Off).

      Special procedures for management of expert witnesses:
      There shall be binding disclosure of the identity of expert witnesses (including
      a curriculum vitae) as set forth below.

      (A)   Expert Reports: With regard to experts who are retained or specially
            employed to provide expert testimony in the case or whose duties as
            an employee of the party regularly involve giving expert testimony:

            (i)     No later than 90 days prior to the discovery deadline set in
                    Paragraph (6) above, PLAINTIFF(S) shall identify any expert(s)
                    and, unless waived, shall serve on the other parties the expert’s
                    written report pursuant to Fed. R. Civ. P. 26(a)(2)(B).

                    Note: When a treating physician is expected to be called as a
                    witness, he or she must also be identified in accordance with this
                    rule. The production of written reports prepared by a treating
                    physician, pursuant to Fed. R. Civ. P. 26(a)(2)(B), is encouraged
                    as an aid to settlement, but not required. In the case of any
                    treating professional or other expert witness not required by the
                    court’s rules to provide a written report, the party anticipating
                    calling the witness must also disclose at least 90 days prior to
                    the close of discovery, the subject matter on which the witness
                    is expected to present evidence under Federal Rule of Evidence
                    702, 703, or 705 and a summary of the facts and opinions to
                    which the witness is expected to testify, pursuant to Fed. R. Civ.
                    P. 26(a)(2)(C).

            (ii)    No later than 45 days prior to the discovery deadline set in
                    Paragraph (6) above, DEFENDANT(S) shall identify any
                    expert(s) and, unless waived, shall serve on the other parties the
                    expert’s written report pursuant to Fed. R. Civ. P. 26(a)(2)(B).

            (iii)   No later than 30 days prior to the discovery deadline set in
                    Paragraph (6) above, ALL PARTIES must identify all experts
                    who will contradict or rebut evidence on the same subject matter
                    identified by another party under Subparagraphs 6(A)(I) and (ii)
                    above, and unless waived, shall serve on the other parties such
                    expert’s written report pursuant to Fed. R. Civ. P. 26(a)(2)(B).


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            (iv)   No deposition of experts shall be taken until AFTER the
                   exchange of the expert reports, UNLESS THE PARTIES
                   AGREE.

            (v)    Motions to preclude expert witness testimony must be filed and
                   served on or before the motion deadline as set forth in
                   Paragraph (7) below.

      (B)   Failure to comply: The failure to comply with the deadlines set forth
            in Subparagraph (A) above may result in the imposition of sanctions,
            including the preclusion of testimony, pursuant to Fed. R. Civ. P. 16(f).

      (C)   Unavailability of Expert witness: In order to avoid the possibility of
            the unavailability of an expert witness at the time set for trial, counsel
            may preserve the testimony of such witness as outlined in Paragraph
            (12)(D)(ii) below for use at trial. In the absence of same, the trial will
            proceed without such testimony.

(7)   MOTIONS: Other than those made under Paragraphs (2) and (3) above,
      motions are to be filed on or before July 20, 2020.

      Note: If no dispositive motion(s) are filed, the motion filing deadline
      becomes the Trial Ready Date. (See Trial Ready Date at Paragraph (8)(A)
      below.)

      (A)   Non-Dispositive Motions: Non-dispositive motions (except venue
            motions-discussed in Paragraph (2) above-and motions for injunctive
            relief) shall NOT be filed until after a conference with the Magistrate
            Judge, which is to be arranged through the Courtroom Deputy Clerk
            assigned to the Magistrate Judge. Before requesting such a conference
            to resolve discovery disputes, the parties must have complied with
            Local Rule 7.1 (d).

            Non-dispositive motions, including discovery motions, shall be filed in
            accordance with Local Rule 7.1 (b)(2) and, except for motions for
            injunctive relief, shall be made returnable before the assigned
            Magistrate Judge. Motions for injunctive relief shall be made returnable
            before Judge Hurd unless the case has been referred to a Magistrate
            Judge pursuant to 28 U.S.C. § 636(c) (“consent” jurisdiction).

      (B)   Dispositive Motions: Dispositive motions shall be filed in accordance
            with Local Rule 7.1(b) and shall be made returnable before Judge Hurd,
            unless the case has been assigned to a Magistrate Judge on consent
            of the parties pursuant to 28 U.S.C. § 636(c).



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(8)   TRIAL DATES:

      (A)   TRIAL READY DATE:

            (i)     When no dispositive motion is filed, the motion filing deadline
                    becomes the trial ready date. The Court will issue a notice
                    scheduling a Final Pretrial Conference and Trial Date. Counsel
                    may contact Judge Hurd’s Courtroom Clerk, at any time, to
                    request that a settlement conference or trial date be scheduled.

            (ii)    When a dispositive motion is filed and the motion filing
                    deadline has expired, the case is marked trial ready upon
                    issuance of the motion decision. Judge Hurd’s Courtroom Clerk
                    will contact counsel after issuance of the Court’s decision on the
                    motion to schedule a pretrial conference. Any request for an
                    extension of the Rule 16 Uniform Pretrial Order deadline(s) will
                    be addressed by Judge Hurd at the time of the conference.

            (iii)   When a dispositive motion is filed and the motion filing
                    deadline HAS NOT expired, the case will continue on the
                    pretrial schedule previously set in the Rule 16 Uniform Pretrial
                    Scheduling Order. Any request for an extension of the Rule 16
                    Uniform Pretrial Order deadline(s) should be addressed by the
                    assigned Magistrate Judge.

      (B)   TRIAL DATE: It is anticipated that the trial will take approximately
            4 days to complete. This is a JURY trial. The parties request that the
            trial be held in Albany, NY.

            Note: The unavailability of any witness, expert or otherwise, will not be
            grounds for a continuance. To avoid a trial going forward without the
            testimony of an unavailable witness, counsel shall preserve the
            appropriate testimony, for trial, by written or video-taped deposition.

(9)   CONSENT TO MAGISTRATE JUDGE: In accordance with the provisions of
      28 U.S.C. §636(c) and Fed.R.Civ.P. 73, you are notified that a United States
      Magistrate Judge of this District Court is available to conduct any or all
      proceedings in this case including a jury or nonjury trial, and to order the entry
      of a final judgment. Exercise of this jurisdiction by a Magistrate Judge is only
      permitted if all parties voluntarily consent. An appeal from a judgment entered
      by a Magistrate Judge shall be taken directly to the United States Court of
      Appeals for the judicial circuit in the same manner as an appeal from any
      other judgment of this District Court. A consent form to the Magistrate Judge
      is attached to this order.



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(10) SETTLEMENT CONFERENCE: A settlement conference may be scheduled
     at the Court’s direction or by the request of counsel AT ANY TIME. In addition
     to counsel, a representative of each party with settlement authority must
     personally attend the settlement conference, unless prior permission is
     granted by the Court to attend via telephone or video conference. A
     pretrial/settlement conference statement form is attached and must be
     submitted to the Courtroom Clerk’s attention one week prior to the
     scheduled conference by email at
     NYND_DNH_ECF_NOTICES@nynd.uscourts.gov. Counsel are directed NOT
     to serve the settlement statement on opposing counsel.

(11) ASSESSMENT OF JUROR COSTS: The parties are advised that pursuant
     to Local Rule 47.3, whenever any civil action scheduled for a jury trial is
     postponed, settled, or otherwise disposed of in advance of the actual trial,
     then, except for good cause shown, all juror costs, including Marshal’s fees,
     mileage, and per diem, shall be assessed against the parties and/or their
     counsel as directed by the Court, unless the Court and the Clerk’s Office are
     notified at least one full business day prior to the day on which the action is
     scheduled for trial in time to advise the jurors that it will be unnecessary for
     them to attend.

(12) PRETRIAL SUBMISSIONS:

      (A)    Non-Jury Trials: One week before the Final Pretrial Conference date
             or on any other date set by the Court, counsel shall electronically file
             the following documents with the Clerk’s Office, with a copy served
             upon opposing counsel:

             •     Joint Pretrial Stipulation (see Subparagraph (C) below);
             •     Prepared Findings of Fact and Conclusions of Law;
             •     Witness List (see Subparagraph (D)(I) below);
             •     Exhibit Lists (see Subparagraph (E)(I) below);
             •     Trial Brief concerning evidentiary issues (see Subparagraph (H)
                   below);
             •     All deposition transcripts in dispute (including video-taped
                   depositions) to be used at trial (see Subparagraph (G) below);
                   and
             •     Motions in Limine (see Subparagraph (F) below).

      (B)    Jury Trials: One week before the Final Pretrial Conference Date or on
             any other date set by the Court, counsel shall electronically file the
             following documents with the Clerk’s Office, with a copy served upon
             opposing counsel

             •     Joint Pretrial Stipulation (see Subparagraph (C) below);
             •     Court Ordered Voir Dire (see Attachment #1);

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      •      Proposed Voir Dire;
      •      Witness Lists (see Subparagraph (D)(I) below);
      •      Exhibit Lists (see Subparagraph (E)(I) below);
      •      Trial Brief (see Subparagraph (H) below);
      •      Requests to Charge, including proposed Special Verdict Form
             (see Subparagraph (I) below);
      •      All deposition transcripts in dispute (including video-taped
             depositions) to be used at trial (see Subparagraph (G) below);
             and
      •      Motions in Limine (see Subparagraph (F) below).

(C)   Joint Pretrial Stipulations: A joint pretrial stipulation subscribed by
      counsel for all parties shall be electronically filed with the Clerk’s Office
      and shall contain:
      (i)   The basis of federal jurisdiction;
      (ii)  A list of all exhibits which can be stipulated into evidence or that
            will be offered without objection as to foundation; and
      (iii) Relevant (1) facts not in dispute, (2) facts in dispute, and (3)
            issues of law to be considered and applied by the Court.

(D)   Witnesses:

      (i)    One week before the Final Pretrial Conference date, or on any
             other date set by the Court, counsel shall electronically file with
             the Clerk’s Office, with a copy to opposing counsel, the following
             information regarding the witnesses that may be called to testify
             at trial other than solely for impeachment purposes.

             (a)   The name and address (city and state) of each witness,
                   separately identifying those whom the party expects to
                   present and those whom the party may call if the need
                   arises, as well as a brief summary of the testimony to be
                   offered by each witness.

             (b)   The designation of those witnesses whose testimony is
                   expected to be presented by means of a deposition
                   (including video-taped deposition), specifically identifying
                   the pertinent portions of the deposition testimony to be
                   offered.

      (ii)   The unavailability of any witness, expert, or otherwise, will
             not be grounds for a continuance. In order to avoid the
             possibility of going forward with the trial without testimony of an
             unavailable witness, counsel, where appropriate, shall preserve
             same before the trial date by written or video-taped deposition for
             possible use at trial.

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(E)   Exhibits:

      (i)     Exhibit Lists: Counsel shall electronically file with the Clerk’s
              Office, with a copy to opposing counsel, an exhibit list on the
              form prescribed by the Court, a copy of which is attached to this
              Order. Counsel are to supply the exhibit number and exhibit
              description. The remaining boxes shall be left blank for the
              Courtroom Deputy.

      (ii)    All documents and/or papers intended as exhibits or to be used
              during the course of trial, including but not limited to, documents,
              photographs, charts, diagrams, etc., shall be marked for
              identification in the manner prescribed below and must be
              assembled in BINDERS with each document properly marked at
              the lower right corner for identification purposes as directed
              below. Counsel shall provide a separate binder with a complete
              set of exhibits for the Clerk and for the Court on the first day
              of trial, and one binder to each opposing counsel.

              The exhibits shall have been inspected by the opposing party
              and copied at their expense (unless waived), NO LATER THAN
              ONE WEEK PRIOR TO THE FINAL PRETRIAL CONFERENCE
              DATE. The exhibit binders for the Clerk and the Court shall be
              presented to Judge Hurd’s Courtroom Deputy at the beginning
              of trial.

      *NOTE: During the course of trial, the Courtroom Deputy shall take
      charge of exhibits which are received into evidence. At the
      conclusion of the trial, the Courtroom Deputy will immediately
      return all of the exhibits to the proper parties. It is the
      responsibility of the parties to maintain the exhibits and to
      produce the exhibits for any appeal. Videotaped deposition
      transcripts viewed at the trial shall be filed with the Clerk’s Office
      and made part of the record and counsel is responsible for
      providing an additional copy of the transcript to the Courtroom
      Deputy.

      (iii)   Exhibit Markers: Counsel shall fill in the appropriate markers
              leaving the “Dated entered” and “Deputy Clerk” lines blank. All
              exhibits shall be assigned numbers by using a prefix of “P” for
              plaintiff, “D” for defendant, and “G” for Government.

              Plaintiff’s exhibits should be denoted as: P-1, P-2, P-3, etc.
              Defendant’s exhibits should be denoted as: D-1, D-2, D-3, etc.
              Government’s exhibits should be denoted as: G-1, G-2, G-3, etc.
              In cases involving multiple defendants, the exhibits shall be

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            denoted with the initial of the last name of the defendant and its
            numerical identification number.

            Stickers shall be affixed whenever possible to the lower right-
            hand corner of the exhibit. If the exhibit marker is going to cover
            any information on the exhibit, then affix the marker to the
            reverse side of the exhibit. Each exhibit shall also have an
            exhibit number in the upper right hand corner of the exhibit. (P-1,
            P-2, etc. or D-1, D-2, etc.).

(F)   Motions in Limine: One week before the Final Pretrial Conference
      date, or on any other date set by the Court, counsel shall electronically
      file with the Clerk’s Office, with a copy to opposing counsel, any
      motions in limine, citing the applicable rules of evidence and case law.
      Counsel shall file an response to a Motion In Limine no later than three
      days before the Final Pretrial Conference date.
      MOTIONS IN LIMINE MAY NOT OTHERWISE BE FILED WITHOUT
      LEAVE OF THE COURT.

(G)   Depositions: All depositions and video-taped depositions to be used
      at trial shall be brought to court on the day of trial. Not less than four
      weeks prior to the trial date, each party shall indicate to the opposing
      party the portion of the video deposition to be offered. To the extent
      possible, objections are to be resolved between the parties. One week
      before the Final Pretrial Conference, counsel shall forward to the
      Judge’s chambers any portions of a deposition transcript intended to be
      used in trial that are in dispute (including video-taped depositions) for
      ruling at the Final Pretrial Conference. The parties must provide an
      edited version of any DVD to be shown to the jury at trial deleting
      any portions ruled inadmissible by the Court. The Court does not
      have the capability to start and stop a video during trial to edit certain
      portions of the DVD. All deposition transcripts, including videotaped
      depositions, that are not in dispute shall be brought to Court on the first
      day of trial. Counsel shall provide the Court with an additional copy of
      the “redacted” transcript of all video deposition testimony which is put
      into evidence at trial and shall be made a part of the record for filing
      with the Clerk’s Office. Counsel must confirm with the Court that
      the DVD format is compatible with the Courtroom equipment prior
      to the first day of trial.

(H)   Trial Briefs: One week before the Final Pretrial Conference date, or on
      any other date set by the Court, counsel shall electronically file with the
      Clerk’s Office, with a copy to opposing counsel, a trial brief containing
      argument and citations on any and all disputed issues of law, citing the
      applicable rules of evidence and case law. Trial Briefs should also
      include any evidentiary issues that are expected to arise.

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(I)   Requests to Charge: One week before the Final Pretrial Conference
      date, or on any other date set by the Court, counsel shall electronically
      file with the Clerk’s Office a request to charge and a proposed Special
      Verdict Form, with a copy to opposing counsel, and email a copy of
      same in WordPerfect or Word format to Judge Hurd’s Courtroom Clerk
      at NYND_DNH_ECF_NOTICES@nynd.uscourts.gov. The request to
      charge need only include instructions that are specific to the law in this
      case regarding liability, damages, and any unusual issues. The court
      has the usual boilerplate charge.

(J)   Voir Dire: Counsel shall electronically file any proposed Voir Dire
      requests. Each party shall submit a numbered list of questions which
      the court, in the exercise of its discretion, may use during jury selection,
      and counsel shall email a copy of any proposed Voir Dire questions in
      WordPerfect or Word format to Judge Hurd’s Courtroom Deputy at
      NYND_DNH_ECF_NOTICES@nynd.uscourts.gov.

(K)   Court-Ordered Voir Dire: Counsel shall electronically file with the
      Clerk’s Office the attached “Court-Ordered Voir Dire”.

(L)   Courtroom Technology: If the parties intend to utilize the courtroom
      equipment at the time of trial, counsel are directed to contact the
      Courtroom Deputy prior to the trial date to make arrangements for
      training and testing such equipment. Please keep in mind that the
      Court does not provide a person to run the equipment during trial. The
      courtroom is supplied with a DVD unit, visual evidence presenter, VGA
      connections for laptops (no internet), and interpreter/hearing impaired
      headsets. All non-proprietary DVD’s (i.e., .avi, .mp3, .mp4, and .wmv)
      should be compatible with the Court’s DVD player, however, prior to
      the trial date, counsel must confirm such compatibility for use at the
      time of trial. If any portion of the DVD should be redacted, it is the
      responsibility of counsel to provide a redacted copy for use at trial.
      Counsel may be required to utilize the visual presenter to publish
      exhibits to the jury. The visual evidence presenter will allow counsel to
      display documents, photos, objects, x-rays, and electronic
      presentations on monitors placed throughout the courtroom and in the
      jury box with touch screen monitors at the podium and witness stand.
      Laptop connections are available at the podium and at all counsel
      tables (no internet). Please note that audio cables are not available
      and counsel should provide their own, if necessary. If you are
      presenting evidence through a Macintosh laptop, a video
      convertor/adaptor is required and must be supplied by counsel. In the
      event counsel’s equipment is not compatible with the courtroom’s
      equipment, the Court is not responsible for supplying additional
      electronic parts to remedy this. One week prior to the trial date
      counsel may request that the court reporter provide a live realtime

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             transcript or an end of day transcript. There is a charge for these
             services and financial arrangements should be made ahead of
             time with the court reporter. When requesting a live realtime
             transcript the following is required: 1) litigation support software, (i.e.,
             LiveNote, Bridge, Caseview); 2) hardware (i.e., if laptop does not have
             a serial port, a USB to serial adaptor is required). Additional courtroom
             technology information may be obtained on the court’s webpage:
             http://www.nynd.uscourts.gov/courtroom-technology.

      (M)    Alternative Dispute Resolution:

             This action has been referred into the Mandatory Mediation Program.
             The Court has discussed with the parties the time frame for completion
             of the Mandatory two-hour mediation session. Mandatory Mediation
             shall be completed by October 31, 2019. The Court will issue a
             separate order referring this case into the Mandatory Mediation
             Program.

(13) STATUS REPORT: Counsel are directed to report to the Court as to the
     status of this case. The report is to be submitted in letter form and filed
     electronically with the Clerk of the Court, to the attention of Judge Stewart, on
     or before the date directed below. The report should include a discussion of
     the discovery completed to date, any that is scheduled, and any settlement
     negotiations that have occurred or are scheduled. STATUS REPORT to be
     submitted on or before September 27, 2019.

SO ORDERED




DATED: June 12, 2019
       Albany, NY




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                           COURT ORDERED VOIR DIRE
                       TO BE USED BY THE JUDGE AT TRIAL

CASE TITLE: LAMONT LEE and vs. THE CITY OF TROY, ET AL.
CIVIL ACTION NO.: 19-CV-473
ASSIGNED JUDGE OR MAGISTRATE JUDGE: DAVID N. HURD

                                     ATTACHMENT #(1)

        Each attorney is required to submit the following information on behalf of his/her client
for use by the Court during Voir Dire and must be filed with the Court one week before the Final
Pretrial Conference, or any other date set by the Court.

NAMES AND ADDRESSES OF ALL PARTIES TO THE LAWSUIT:




(use additional page if necessary)

YOUR NAME, FIRM NAME, ADDRESS AND THE NAME OF ANY PARTNER OR ASSOCIATE
WHO MAY BE AT COUNSEL TABLE DURING THE COURSE OF THE TRIAL.




(use additional page if necessary)

SET FORTH THE DATE OF THE OCCURRENCE, THE PLACE OF THE OCCURRENCE AND
A BRIEF STATEMENT OF THE EVENTS CENTRAL TO THE LITIGATION.




(use additional page if necessary)

SET FORTH THE NAMES AND ADDRESSES OF ALL LAY WITNESSES TO BE CALLED.




(use additional page if necessary)
SET FORTH THE NAMES AND ADDRESSES OF ALL EXPERT WITNESSES TO BE
CALLED GIVING A BRIEF DESCRIPTION OF THEIR AREAS OF EXPERTISE.




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY CAUSE OF ACTION IN THE
COMPLAINT.




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY AFFIRMATIVE DEFENSE
ASSERTED AS WELL AS A STATEMENT ADDRESSING ANY COUNTERCLAIMS RAISED
IN THE ANSWER.




(use additional page if necessary)




PLEASE TAKE NOTICE that any delay in jury selection occasioned by the failure to provide
this information will be explained to the jury as to the extent of the delay and the attorney
causing same and if the delay causes a one (1) day or more postponement of this trial,
appropriate monetary sanctions will be imposed by the Court.



Submitted by: ___________________________________

Date: _______________________
  UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-473                   CASE NO. 19-CV-473

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK


  UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-473                   CASE NO. 19-CV-473

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK


  UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-473                   CASE NO. 19-CV-473

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK


  UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-473                   CASE NO. 19-CV-473

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK
                                                                                                        Page 1 of ____
                                               United States District Court
                                              Northern District Of New York
Case No. 19-CV-473
Date: _________________
Presiding Judge: David N. Hurd

              Plaintiff                         Defendant                      Court

  Exhibit    Marked for      Admitted Into           Remarks          Witness             Exhibit Description
   No.      Identification    Evidence




Exhibits Returned to Counsel (Date): _____________

Signature: _________________________
Case No. 19-CV-473
                                                                                   Page ____ of ____



  Exhibit    Marked for      Admitted Into           Remarks   Witness   Exhibit Description
   No.      Identification    Evidence




Exhibits Returned to Counsel (Date): _____________

Signature: _________________________
         PRETRIAL & SETTLEMENT CONFERENCE STATEMENT
                     ( NOT FOR PUBLIC VIEW )
      ** THIS DOCUMENT WILL BE PROVIDED TO THE CLERK AND
              NOT FILED IN ACCORDANCE WITH L.R. 5.7

CASE NAME: LAMONT LEE and vs. THE CITY OF TROY, ET AL.

ACTION NO.: 19-CV-473

ASSIGNED JUDGE: DAVID N. HURD

ASSIGNED MAGISTRATE JUDGE: DANIEL J. STEWART

        Each Attorney is required to submit the following information on behalf of his or
her client in short, concise form, in order to present a brief overview of the facts of the
case. This information will be used by the Court during the scheduled final
pretrial/settlement conference and therefore must be provided to the Court five (5)
days in advance of the conference date.

PARTY/PARTIES REPRESENTED;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

A BRIEF PERSONAL HISTORY REGARDING YOUR CLIENT(S);

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS OF THE CASE;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)
A BRIEF STATEMENT OF THE CLAIMS AND DEFENSES, i.e., STATUTORY OR
OTHER GROUNDS UPON WHICH THE CLAIMS ARE FOUND; AND EVALUATION
OF THE PARTIES’ LIKELIHOOD OF PREVAILING ON THE CLAIMS AND
DEFENSES; AND A DESCRIPTION OF THE MAJOR ISSUES IN DISPUTE; SET
FORTH ANY DEMANDS OR OFFERS FOR SETTLEMENT

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

A SUMMARY OF THE PROCEEDINGS TO DATE;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

AN ESTIMATE OF THE COST AND TIME TO BE EXPENDED FOR FURTHER
DISCOVERY, PRETRIAL AND TRIAL;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS AND ISSUES UPON WHICH THE PARTIES
AGREE;
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

ANY DISCREET ISSUES WHICH, IF RESOLVED, WOULD AID IN THE DISPOSITION
OF THE CASE;
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)
THE RELIEF SOUGHT;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

THE PARTIES’ POSITION ON SETTLEMENT, INCLUDING PRESENT DEMANDS
AND OFFERS, THE HISTORY OF PAST SETTLEMENT DISCUSSIONS, OFFERS
AND DEMANDS;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

PREFERRED TRIAL LOCATION, APPROXIMATE LENGTH OF TRIAL, AND
WHETHER TRIAL IS JURY OR NON-JURY;

___________________________________________________________________
___________________________________________________________________
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___________________________________________________________________
(use additional page if necessary)

       The Court requires that each party be represented at each pretrial conference by
an attorney who has the authority to bind that party regarding all matters identified by
the Court for discussion at the conference and all reasonably related matters including
settlement authority.

      Copies of the settlement statement shall NOT be served upon the other parties.
This document will not be filed and will not be made available for public view.

      Should the case be settled in advance of the pretrial/settlement conference date,
counsel are required to notify the court immediately. Failure to do so could subject
counsel for all parties to sanctions.

Signature of Counsel:      _______________________________

Dated:                     _______________________________
OAO 85 (Rev. 01-09) Notice, Consent and Reference of a Civil Action to a Magistrate Judge


                                               UNITED STATES DISTRICT COURT
                                                                              for the

___________________________________________________ District of __________________________________________________


___________________________________________________ )
               Plaintiff                            )
                   v.                               )                                Civil Action No.
                                                    )
___________________________________________________ )
               Defendant                            )


                     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a Magistrate Judge’s availability. A United States Magistrate Judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then be
appealed directly to the United States Court of Appeals like any other judgment of this court. A Magistrate Judge may exercise this
authority only if all parties voluntarily consent.

         You may consent to have your case referred to a Magistrate Judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will no be revealed to any judgment who may otherwise be
involved with your case.

        Consent to a Magistrate Judge’s authority. The following parties consent to have a United State Magistrate Judge conduct all
proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

          Parties’ printed names                                 Signatures of parties or attorneys                     Dates

____________________________________                     ____________________________________________         _________________________

____________________________________                     ____________________________________________         _________________________

____________________________________                     ____________________________________________         _________________________

____________________________________                     ____________________________________________         _________________________

                                                                       Reference Order

         IT IS ORDERED: This case is referred to a United States Magistrate Judge to conduct all proceedings and order the entry of a
final judgment in accordance with 28 U.S.C. §636(c) and Fed.R.Civ.P.73.


Date:     ___________________________                                     ____________________________________________________
                                                                                        District Judge’s Signature

                                                                          ____________________________________________________
                                                                                        Printed name and title

Note:     Return this form to the clerk of the court only if you are consenting to the exercise of jurisdiction by a United States Magistrate
          Judge. Do not return this form to a Judge.
